      Case: 1:25-cv-04341 Document #: 1 Filed: 04/21/25 Page 1 of 12 PageID #:1




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

DAVID GILMOUR MUSIC LTD.,

       Plaintiff,                                            Civil Action No.: 1:25-cv-04341

v.

THE OWNER AND/OR OPERATOR OF
OTHERBRICK.COM,

       Defendant.

                                          COMPLAINT

       Plaintiff, David Gilmour Music Ltd. (“DGML” or “Plaintiff”), hereby files this Complaint

against the Owner and/or Operator of otherbrick.com (the “Defendant”), and for its Complaint

hereby alleges as follows:

                                 JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., 28 U.S.C. § 1338(a)–(b),

and 28 U.S.C. § 1331.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendant since the Defendant directly targets

consumers in the United States, including Illinois, through at least the fully interactive commercial

internet stores operating under domain name identified as otherbrick.com (the “Defendant Domain

Name”). Specifically, Defendant is reaching out to do business with Illinois residents by operating

a commercial, interactive internet store through which Illinois residents can and do purchase

products bearing counterfeit versions of Plaintiff’s trademark. The Defendant has targeted sales

from Illinois residents by operating an online store under the Defendant Domain Name that offers
      Case: 1:25-cv-04341 Document #: 1 Filed: 04/21/25 Page 2 of 12 PageID #:2




shipping to the United States, including Illinois, accepts payment in U.S. dollars, and has sold

products bearing counterfeit versions of Plaintiff’s federally registered trademark to residents of

Illinois. The Defendant is committing tortious acts in Illinois, is engaging in interstate commerce,

and has wrongfully caused Plaintiff substantial injury in the State of Illinois.

                                        INTRODUCTION

       3.      This action has been filed by Plaintiff to combat online counterfeiters who trade

upon Plaintiff’s reputation and goodwill by selling and/or offering for sale products in connection

with Plaintiff’s DAVID GILMOUR Trademark, which is covered by U.S. Trademark Registration

No. 3,756,468 (the “David Gilmour Trademark”). The registration is valid, subsisting, unrevoked,

uncancelled, and incontestable pursuant to 15 U.S.C. § 1065. The registration for the trademark

constitutes prima facie evidence of validity and of Plaintiff’s exclusive right to use the trademark

pursuant to 15 U.S.C. § 1057(b). A genuine and authentic copy of the U.S. federal trademark

registration certificate for the DAVID GILMOUR Trademark is attached as Exhibit 1.

       4.      Defendant is selling illegal counterfeits at prices substantially below an original:

                                            ORIGINAL




                                                 2
       Case: 1:25-cv-04341 Document #: 1 Filed: 04/21/25 Page 3 of 12 PageID #:3




                                          COUNTERFEIT




            5.   Plaintiff has been and continues to be irreparably damaged through consumer

confusion, dilution, loss of control over its reputation and goodwill as well as the quality of goods

bearing the DAVID GILMOUR Trademark.

            6.   Defendant is using a fake online storefront designed to appear to be selling genuine

Plaintiff products, while selling inferior imitations of Plaintiff’s products. Plaintiff is filing this

action to combat Defendant’s counterfeiting of Plaintiff’s registered trademark, as well as to

protect unknowing consumers from purchasing unauthorized DAVID GILMOUR products over

the internet.

            7.   This Court has personal jurisdiction over Defendant, in that Defendant conducts

significant business in Illinois and in this judicial district, and the acts and events giving rise to

this lawsuit of which Defendant stands accused were undertaken in Illinois and in this judicial

district. In addition, Defendant has offered to sell and sold infringing products into this judicial

district.




                                                 3
      Case: 1:25-cv-04341 Document #: 1 Filed: 04/21/25 Page 4 of 12 PageID #:4




                                        THE PLAINTIFF

       8.      David Gilmour Music Ltd. is a limited company having its principal place of

business in the United Kingdom. It is the business entity associated with David Gilmour, the

musician, who is an English singer, songwriter, composer, multi-instrumentalist, and record

producer. Mr. Gilmour is also widely known for being a member of the iconic rock band Pink

Floyd. Mr. Gilmour remains active and DGML is an official source of authentic DAVID

GILMOUR products.

       9.      Plaintiff is in the business of developing, marketing, selling, distributing and

retailing high-quality concert merchandise including within the Northern District of Illinois

District (collectively, the “DAVID GILMOUR Products”) under the federally registered DAVID

GILMOUR Trademark. Defendant’s sales of counterfeit products in violation of Plaintiff’s

intellectual property rights are irreparably damaging Plaintiff.

       10.     Plaintiff’s brand, symbolized by the DAVID GILMOUR Trademark, is a

recognized symbol of high-quality merchandise. The DAVID GILMOUR Trademark is distinctive

and identifies the merchandise as goods from Plaintiff. The registration for the DAVID GILMOUR

Trademark constitutes prima facie evidence of its validity and of Plaintiff’s exclusive right to use

the DAVID GILMOUR Trademark pursuant to 15 U.S.C. § 1057 (b).

       11.     The DAVID GILMOUR Trademark has been continuously used and never

abandoned.

       12.     Plaintiff has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting the DAVID GILMOUR Trademark. As a result, products

bearing the DAVID GILMOUR Trademark are widely recognized and exclusively associated by

consumers, the public, and the trade as being products sourced from Plaintiff.




                                                 4
      Case: 1:25-cv-04341 Document #: 1 Filed: 04/21/25 Page 5 of 12 PageID #:5




                                        THE DEFENDANT

        13.     Defendant is an individual and/or business entity who, upon information and belief,

likely resides and/or operates in Asia or other foreign jurisdictions. Defendant conducts business

throughout the United States, including within Illinois and in this judicial district, through the

operation of the fully interactive commercial website and online marketplace operating under the

Defendant Domain Name. Defendant targets the United States, including Illinois, and has offered

to sell, has sold, and continues to sell counterfeit DAVID GILMOUR Products to consumers

within the United States, including Illinois and in this judicial district.

                        THE DEFENDANT’S UNLAWFUL CONDUCT

        14.     The success of the DAVID GILMOUR brand has resulted in its significant

counterfeiting. Defendant conducts its illegal operations through a fully interactive commercial

website operating under the Defendant Domain Name. Defendant targets consumers in the United

States, including the State of Illinois, and has offered to sell, has sold, and continues to sell

counterfeit products that violate Plaintiff’s intellectual property rights (“Counterfeit Products”) to

consumers within the United States, including the State of Illinois.

        15.     Defendant has intentionally concealed its identity and the full scope of its

counterfeiting operations in an effort to deter Plaintiff from learning Defendant’s true identity and

the exact interworking of Defendant’s illegal counterfeiting operations. For example, the website

operated at the Defendant Domain Name provides the following physical address: 351 Lincoln

Ave, Youngstown, OH 44502. However, a Google search of this address leads to no known

businesses; instead the address is for a building belonging to University Edge Youngstown,

described as a “Student housing complex offering furnished apartments, as well as events.” The




                                                  5
       Case: 1:25-cv-04341 Document #: 1 Filed: 04/21/25 Page 6 of 12 PageID #:6




Defendant Domain Name does not offer any unit or apartment number, and Plaintiff’s counsel has

previously identified this address as affiliated with other scam and counterfeit websites.

        16.    Through its operation of the Defendant Domain Name, Defendant is directly and

personally contributing to, inducing, and engaging in the sale of Counterfeit Products as alleged.

Upon information and belief, Defendant is working to knowingly and willfully manufacture,

import, distribute, offer for sale, and sell Counterfeit Products.

        17.    Defendant’s use of the DAVID GILMOUR Trademark on or in connection with

the advertising, marketing, distribution, offering for sale, and sale of the Counterfeit Products is

likely to cause and has caused confusion, mistake, and deception by and among consumers and is

irreparably harming Plaintiff. Defendant has manufactured, imported, distributed, offered for sale,

and sold Counterfeit Products using the DAVID GILMOUR Trademark and continues to do so.

        18.    Defendant, without authorization or license from Plaintiff, knowingly and willfully

used and continues to use the DAVID GILMOUR Trademark in connection with the

advertisement, offering for sale, and sale of the Counterfeit Products through, inter alia, the

internet. The Counterfeit Products are not genuine DAVID GILMOUR Products. Plaintiff did not

manufacture, inspect, or package the Counterfeit Products and did not approve the Counterfeit

Products for sale or distribution. The Defendant Domain Name offers shipping to the United

States, including Illinois, and has sold Counterfeit Products into the United States, including

Illinois.

        19.    Upon information and belief, Defendant will continue to register or acquire listings

for the purpose of selling Counterfeit Products that infringe upon the DAVID GILMOUR

Trademark unless preliminarily and permanently enjoined.




                                                 6
      Case: 1:25-cv-04341 Document #: 1 Filed: 04/21/25 Page 7 of 12 PageID #:7




        20.    Defendant’s use of the DAVID GILMOUR Trademark in connection with the

advertising, distribution, offering for sale, and sale of counterfeit DAVID GILMOUR Products,

including the sale of counterfeit DAVID GILMOUR Products into Illinois, is likely to cause and

has caused confusion, mistake, and deception by and among consumers and is irreparably harming

Plaintiff.

                             COUNT I
      TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

        21.    Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

        22.    This is a trademark infringement action against Defendant based on its

unauthorized use in commerce of counterfeit imitations of the registered DAVID GILMOUR

Trademark in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The DAVID GILMOUR Trademark is a highly distinctive mark. Consumers

have come to expect the highest quality from Plaintiff’s products provided under the DAVID

GILMOUR Trademark.

        23.    Defendant has sold, offered to sell, marketed, distributed, and advertised, and is

still selling, offering to sell, marketing, distributing, and advertising products in connection with

the DAVID GILMOUR Trademark without Plaintiff’s permission.

        24.    Plaintiff is the exclusive owner of the DAVID GILMOUR Trademark. Plaintiff’s

United States Registration for the DAVID GILMOUR Trademark (Exhibit 1) is in full force and

effect. Upon information and belief, Defendant has knowledge of Plaintiff’s rights in the DAVID

GILMOUR Trademark and is willfully infringing and intentionally using counterfeits of the

DAVID GILMOUR Trademark. Defendant’s willful, intentional, and unauthorized use of the




                                                 7
      Case: 1:25-cv-04341 Document #: 1 Filed: 04/21/25 Page 8 of 12 PageID #:8




DAVID GILMOUR Trademark is likely to cause and is causing confusion, mistake, and deception

as to the origin and quality of the counterfeit goods among the general public.

        25.     Defendant’s activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

        26.     Plaintiff has no adequate remedy at law, and if Defendant’s actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its well-

known DAVID GILMOUR Trademark.

        27.     The injuries and damages sustained by Plaintiff have been directly and proximately

caused by Defendant’s wrongful reproduction, use, advertisement, promotion, offering to sell, and

sale of counterfeit DAVID GILMOUR Products.

                                   COUNT II
                  FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

        28.     Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

        29.     Defendant’s promotion, marketing, offering for sale, and sale of counterfeit

DAVID GILMOUR Products has created and is creating a likelihood of confusion, mistake, and

deception among the general public as to the affiliation, connection, or association with Plaintiff

or the origin, sponsorship, or approval of Defendant’s counterfeit DAVID GILMOUR Products

by Plaintiff.

        30.     By using the DAVID GILMOUR Trademark in connection with the sale of

counterfeit DAVID GILMOUR Products, Defendant creates a false designation of origin and a

misleading representation of fact as to the origin and sponsorship of the counterfeit DAVID

GILMOUR Products.




                                                 8
      Case: 1:25-cv-04341 Document #: 1 Filed: 04/21/25 Page 9 of 12 PageID #:9




       31.       Defendant’s false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the counterfeit DAVID GILMOUR Products to the general public is a willful

violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       32.       Plaintiff has no adequate remedy at law and, if Defendant’s actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its brand.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

       1) That Defendant, its affiliates, officers, agents, employees, attorneys, and all persons

acting for, with, by, through, under, or in active concert with it be temporarily preliminarily, and

permanently enjoined and restrained from:

       a. using the DAVID GILMOUR Trademark or any reproductions, counterfeit copies, or

             colorable imitations thereof in any manner in connection with the distribution,

             marketing, advertising, offering for sale, or sale of any product that is not a genuine

             DAVID GILMOUR Product or is not authorized by Plaintiff to be sold in connection

             with the DAVID GILMOUR Trademark;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

             DAVID GILMOUR Product or any other product produced by Plaintiff that is not

             Plaintiff’s or not produced under the authorization, control, or supervision of Plaintiff

             and approved by Plaintiff for sale under the DAVID GILMOUR Trademark;

       c. committing any acts calculated to cause consumers to believe that Defendant’s

             counterfeit DAVID GILMOUR Products are those sold under the authorization, control,

             or supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected

             with Plaintiff;




                                                  9
    Case: 1:25-cv-04341 Document #: 1 Filed: 04/21/25 Page 10 of 12 PageID #:10




       d. further infringing the DAVID GILMOUR Trademark and damaging Plaintiff’s

           goodwill;

       e. otherwise competing unfairly with Plaintiff in any manner;

       f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

           distributing, returning, or otherwise disposing of, in any manner, products or inventory

           not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered

           for sale, and which bear any Plaintiff’s trademark, including the DAVID GILMOUR

           Trademark, or any reproductions, counterfeit copies, or colorable imitations thereof;

       g. using, linking to, transferring, selling, exercising control over, or otherwise owning the

           online marketplace accounts, the Defendant Domain Name, or any other online

           marketplace account that is being used to sell or is the means by which Defendant could

           continue to sell counterfeit DAVID GILMOUR Products; and

       h. operating and/or hosting websites at the Defendant Domain Name and any online

           marketplace accounts registered or operated by Defendant that are involved with the

           distribution, marketing, advertising, offering for sale, or sale of any product bearing the

           DAVID GILMOUR Trademark or any reproduction, counterfeit copy or colorable

           imitation thereof that is not a genuine DAVID GILMOUR Product or not authorized

           by Plaintiff to be sold in connection with the DAVID GILMOUR Trademark.

       2) That Defendant, within fourteen (14) days after service of judgment with notice of entry

thereof upon it, be required to file with the Court and serve upon Plaintiff a written report under

oath setting forth in detail the manner and form in which Defendant has complied with paragraph

1, a through h, above;

       3) Entry of an Order that, at Plaintiff’s choosing, the registrants of Defendant Domain




                                                 10
    Case: 1:25-cv-04341 Document #: 1 Filed: 04/21/25 Page 11 of 12 PageID #:11




Name shall be changed from the current registrants to Plaintiff, and that the domain name registries

for the Defendant Domain Name, including, but not limited to, VeriSign, Inc., Neustar, Inc., Afilias

Limited, CentralNic, Nominet, and the Public Interest Registry, shall unlock and change the

registrar of record for the Defendant Domain Name to a registrar of Plaintiff’s selection, and that

the domain name registrars, including, but not limited to, GoDaddy Operating Company, LLC

(“GoDaddy”), Name.com, PDR LTD. d/b/a PublicDomainRegistry.com (“PDR”), and

Namecheap, Inc. (“Namecheap”), shall take any steps necessary to transfer the Defendant Domain

Name to a registrar account of Plaintiff’s selection; or that the same domain name registries shall

disable Defendant Domain Name and make them inactive and untransferable;

       4) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendant and

those with notice of the injunction, including any online marketplaces, social media platforms,

Facebook, YouTube, LinkedIn, Twitter, internet search engines such as Google, Bing and Yahoo,

web hosts for the Defendant Domain Name, and online marketplace account registrars, shall:

       a. disable and cease providing services for any accounts through which Defendant

           engages in the sale of counterfeit DAVID GILMOUR products using the David

           Gilmour Trademark, including any accounts associated with the Defendant;

       b. disable and cease displaying any advertisements used by or associated with Defendant

           in connection with the sale of counterfeit David Gilmour Products using the David

           Gilmour Trademark; and

       c. take all steps necessary to prevent links to the Defendant Domain Name identified as

           otherbrick.com from displaying in search results, including, but not limited to,

           removing links to the Defendant Domain Name from any search index;

       5) That Defendant accounts for and pays to Plaintiff all profits realized by Defendant by




                                                11
    Case: 1:25-cv-04341 Document #: 1 Filed: 04/21/25 Page 12 of 12 PageID #:12




reason of Defendant’s unlawful acts herein alleged, and that the amount of damages for

infringement of the DAVID GILMOUR Trademark be increased by a sum not exceeding three

times the amount thereof as provided by 15 U.S.C. § 1117;

       6) In the alternative, that Plaintiff be awarded statutory damages pursuant to 15 U.S.C. §

1117(c)(2) of $2,000,000 for each and every use of the DAVID GILMOUR Trademark;

       7) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

       8) Award any and all other relief that this Court deems just and proper.


DATED: April 21, 2025                               Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    33 West Jackson Boulevard, #2W
                                                    Chicago, Illinois 60604
                                                    Telephone: 312-971-6752
                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF




                                               12
